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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

In re Application of CATERPILLAR         )
CRÉDITO, SOCIEDAD ANÓNIMA DE             )
CAPITAL VARIABLE, SOCIEDAD               )   Misc. Case No. _______
FINANCIERA DE OBJETO MÚLTIPLE,           )
ENTIDAD REGUALADA for an Order           )
Pursuant to 28 U.S.C. § 1782 Granting    )
Leave to Obtain Discovery for Use in a   )
Foreign Proceeding                       )



           MEMORANDUM OF LAW IN SUPPORT OF EX PARTE
       APPLICATION PURSUANT TO 28 U.S.C. § 1782 FOR AN ORDER
     GRANTING LEAVE TO OBTAIN DISCOVERY FOR USE IN A FOREIGN
                          PROCEEDING




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                                         Dated: September 22, 2022
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       Caterpillar Crédito, Sociedad Anónima de Capital Variable, Sociedad Financiera de Objeto

Múltiple, Entidad Regualada (“Caterpillar Crédito”) respectfully submits this Memorandum of

Law and the exhibits thereto, including the sworn declarations of Eric de Vries (Ex. 1, Declaration

of Eric De Vries in Support of Ex Parte Application Pursuant to 28 U.S.C. § 1782 (“de Vries

Decl.”)) and Joana Rego (Ex. 2, Declaration of Joana Rego in Support of Ex Parte Application

Pursuant to 28 U.S.C. § 1782 (“Rego Decl.”)), in support of its Application, pursuant to 28 U.S.C.

§ 1782, for an Order permitting it to serve subpoenas on Mastercard Incorporated (“Mastercard”)

and Visa Inc. (“Visa”) (collectively, “Respondents”).

                               PRELIMINARY STATEMENT

       Caterpillar Crédito seeks narrow document discovery for use in a litigation brought against

Caterpillar Crédito and Carlos Marcelino Jose Bellosta Pallares (“Mr. Bellosta”) by Mr. Bellosta’s

wife, Carolina Elizabeth Várady de Bellosta (“Mrs. Bellosta”) before the Court of First Instance

of Curaçao (the “Curaçao Proceeding”). The documents sought in this Application may have a

profound impact on the outcome of that litigation.

       In the Curaçao Proceeding, Mrs. Bellosta seeks to annul two personal guarantees given by

Mr. Bellosta to Caterpillar Crédito in 2015 and 2016 to secure his company’s payment obligation

under a loan agreement with Caterpillar Crédito (the “Personal Guarantees”). Mrs. Bellosta

alleges that the Personal Guarantees that Mr. Bellosta gave to Caterpillar Crédito are invalid

because under Curaçao law, Mr. Bellosta first needed her consent to give the Personal Guarantees,

which he did not obtain. (de Vries Decl. ¶¶ 6, 7.) According to Mrs. Bellosta, the validity of the

Personal Guarantees should be determined based on Curaçao law because her habitual residence

was in Curaçao at the time the Personal Guarantees were issued. (See Ex. 3, Complaint filed by

Mrs. Bellosta in the Curaçao Proceeding (“Bellosta Complaint”) at 2-3.)

       Caterpillar Crédito disputes Mrs. Bellosta’s contentions. At the outset, Caterpillar Crédito


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believes that at the time Mrs. Bellosta filed her complaint with the Court of First Instance of

Curaçao, Mr. Bellosta’s residence was not in Curaçao. If true, the Curaçao court does not have

jurisdiction over either defendant, and the complaint should be dismissed. (de Vries Decl. ¶¶ 9-

11.) Caterpillar Crédito further believes that at the time of the execution of the Personal

Guarantees, Mrs. Bellosta’s habitual residence also was not in Curaçao. As a result, the Curaçao

Civil Code is not applicable and the Bellostas cannot resort to its provisions in their quest to avoid

repaying the substantial sums owed to Caterpillar Crédito. (de Vries Decl. ¶ 8.)

        To prove these facts, Caterpillar Crédito is seeking evidence through this proceeding to

show that Mr. Bellosta was not habitually residing in Curaçao when Mrs. Bellosta filed her

complaint, and—contrary to her allegations in the Curaçao Proceeding—Mrs. Bellosta likewise

was not a resident of Curaçao at the time Mr. Bellosta issued the Personal Guarantees. Caterpillar

Crédito likely will be able to establish these facts through (1) records of all activity on the

credit/debit cards held individually or jointly by the Bellostas, which are likely to show their

location throughout the relevant periods as these records are likely to indicate the shops,

restaurants, dry cleaners, etc., which they frequented, and (2) the billing address for the credit/debit

card statements.

        Section 1782 authorizes “[t]he district court of the district in which a person resides or is

found [to] order him to . . . produce a document or other thing for use in a proceeding in a foreign

or international tribunal . . . upon the application of any interested person.” 28 U.S.C. § 1782(a).

These statutory requirements are all satisfied here. Respondents both reside in this District, the

discovery sought is for use in the Curaçao Proceeding, and Caterpillar Crédito is a defendant in

the Curaçao Proceeding and therefore an interested party. In addition, the Application satisfies the

discretionary factors set forth in Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 264-




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65 (2004): (1) Respondents are non-participants in the Curaçao Proceeding and may not be

compelled to produce any related documents or other information in the Curaçao Proceeding;

(2) the discovery Caterpillar Crédito seeks is highly relevant to its defenses in the Curaçao

Proceeding; (3) the Application is not an attempt to circumvent Curaçao’s proof-gathering

restrictions; and (4) producing the documents will present minimal burden to Respondents. In

such circumstances, courts in this district have authorized the ex parte filing of applications for

discovery under 28 U.S.C. § 1782.1

         Caterpillar Crédito thus respectfully requests that the Court grant its Section 1782

Application and allow the issuance of subpoenas substantially in the form of those contained in

Exhibits A and B to the concurrently filed Application (together, the “Proposed Subpoenas”).

                                         FACTUAL BACKGROUND

I.       PERSONAL GUARANTEES AND VMSC’S DEFAULT

         Caterpillar Inc. (“Caterpillar”) is the world’s leading manufacturer of construction and

mining equipment, diesel and natural gas engines, industrial gas turbines and diesel-electric

locomotives. Caterpillar, a Delaware corporation and the ultimate parent company for the

Caterpillar group of companies, is a US Fortune 100 company with an extensive network of

independently owned Caterpillar dealers across the world. Caterpillar sells its parts and machines

through this network of Caterpillar dealers, each of them having a certain designated service

territory. Caterpillar often provides financing to these dealers to enable them to purchase

inventory, upgrade facilities, and expand their ability to sell Caterpillar’s products and service

Caterpillar’s end customers. Caterpillar Crédito, a Mexican corporation and an indirect subsidiary


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     See, e.g., In re Mota, No. MC 19-00369 (MN), 2020 WL 95493, at *1 (D. Del. Jan. 8, 2020) (“Discovery
     applications under § 1782 are often granted ex parte because, inter alia, witnesses and other recipients can ‘raise
     . . . objections and [otherwise] exercise . . . their due process rights by motions to quash.’”).



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of Caterpillar, is the entity that provides financing and related support to Caterpillar’s dealers and

customers.

        Until March 2019, the Venequip Group—a group of companies under the ultimate

ownership and control of Mr. Bellosta—was an authorized dealer of Caterpillar’s machinery and

parts with the service territory of Venezuela under two agreements between Venequip SA, the

Venequip Group’s principal entity, and Caterpillar Americas CV, a Dutch partnership related to

Caterpillar SARL, which is a Swiss subsidiary of Caterpillar. (de Vries Decl. ¶ 3.) Venequip SA

sold and repaired Caterpillar’s heavy equipment and electric power generation equipment in a wide

variety of industries, including the oil and gas, mining, infrastructure, construction, and marine

industries.

        In 2007, Caterpillar Crédito and VMSC Curazao N.V. (“VMSC”), the Venequip Group’s

financing entity (which was majority held and controlled by Mr. Bellosta), entered into a loan

agreement in the amount of $4,869,299.53 (the “Original Loan Agreement”). The Original Loan

Agreement was secured by, inter alia, a corporate guarantee between Caterpillar Crédito (the

beneficiary), Venequip SA, Venequip Machinery Sales Corporation, and Venequip SA Limited

(later renamed Solidus Investment Corporation). Between 2007 and 2015, the Original Loan

Agreement was extended several times and amended to increase the principal loan amount. On

June 7, 2012, the loan agreement was amended to increase the principal amount to up to $55

million. It was increased again on June 19, 2012, to $68 million. On November 27, 2013, VMSC

executed a promissory note in favor of Caterpillar Crédito up to a principal amount of

$99,302,153.47.2 (de Vries Decl. ¶ 3.)


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    In July 2014, Caterpillar Crédito secured two political risk insurance policies related to its exposure to VMSC.
    These insurance policies were a requirement of Caterpillar Crédito extending credit to the Venequip Group. The
    Venequip Group was required to pay the premiums on these policies.



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       On October 13, 2015, VMSC (as Borrower) and Caterpillar Crédito (as Lender) entered

into a further extension of the loan (the “VMSC Loan Agreement,” Exhibit 4). (de Vries Decl. ¶ 4.)

In the VMSC Loan Agreement, VMSC acknowledged that it owed Caterpillar Crédito

$55,218,820.10 under the parties’ pre-existing loan arrangements. It further acknowledged that

the purpose of the VMSC Loan Agreement was to increase the line of credit available to VMSC

from Caterpillar Crédito to a total of $110 million, which included the approximately $55 million

then outstanding (the “VMSC Loan”). Days later, on October 16, 2015, Mr. Bellosta, the dealer-

principal of the Venequip Group, gave a personal guarantee to Caterpillar Crédito (the “2015

Guarantee”) to secure VMSC’s obligations under the VMSC Loan. (de Vries Decl. ¶ 4.)

       A year later, on October 11, 2016, the VMSC Loan was amended at Venequip Group’s

request to provide for a 12-month grace period with interest paid every six months and reductions

in the rate of interest when certain repayment thresholds were met. On the same date, Mr. Bellosta

gave a second personal guarantee (the “2016 Guarantee”) on substantially similar terms to the

2015 Guarantee, personally guaranteeing VMSC’s obligations under the amended VMSC Loan.

The 2016 Guarantee did not terminate or otherwise alter the terms of the 2015 Guarantee. (de

Vries Decl. ¶ 4.)

       Under the Personal Guarantees, Mr. Bellosta contractually committed to pay Caterpillar

Crédito the entire sum outstanding under the VMSC Loan as it became due or upon acceleration

(if not paid by VMSC), including interest and any costs incurred by Caterpillar Crédito in seeking

payment under the Personal Guarantees. (Ex. 5.)

       Until September 2017, the Venequip Group consistently made its scheduled payments

using funds derived from the group’s operations. By late 2017, however, it became apparent that

the Venequip Group would not continue to make its payments. The Venequip Group paid




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Caterpillar Crédito its September 2017 loan payment on October 23, 2017, over a month after the

payment was due. Then the Venequip Group failed to pay the October, November, and December

installments of the VMSC Loan. In response, on December 15, 2017, Caterpillar Crédito sent

VMSC a Notice of Default under the VMSC Loan, noting that VMSC had missed these three

installments and demanding payment within 10 days. On December 19, 2017, Caterpillar Crédito

also sent a notice to Mr. Bellosta, informing him of VMSC’s default. Both the notice to VMSC

and to Mr. Bellosta stated that if Caterpillar Crédito did not receive full payment before

December 26, 2017, the total unpaid balance would become due and payable per the loan

agreements, and Caterpillar Crédito reserved all rights to collect from VMSC and Mr. Bellosta.

(de Vries Decl. ¶ 5.)

       Caterpillar Crédito did not receive a response to these notices. To date, neither VMSC nor

Mr. Bellosta (nor, for that matter, any other member of the Venequip Group) has repaid any

additional portion of the VMSC Loan. Under the terms of the Personal Guarantees, on February 4,

2022, Caterpillar Crédito filed a request for arbitration under the Rules of Arbitration of the

International Chamber of Commerce against Mr. Bellosta to enforce the Personal Guarantees (the

“ICC Arbitration”). (de Vries Decl. ¶ 5.)

II.    CURAÇAO PROCEEDING

       Two months after the ICC Arbitration was filed, Mrs. Bellosta initiated the Curaçao

Proceeding against Caterpillar Crédito and Mr. Bellosta. In the Curaçao Proceeding, Mrs. Bellosta

seeks to invalidate the Personal Guarantees. (Bellosta Compl. at 2-3.) Mrs. Bellosta argues that

the validity of the Personal Guarantees must be adjudicated under the Curaçao Civil Code because

at the time Mr. Bellosta issued the Personal Guarantees, her habitual residence was in Curaçao.

(Bellosta Compl. at 2-3.)    If Curaçao law applies, Mrs. Bellosta argues that the Personal

Guarantees are invalid under Articles 1:88 and 1:89 of the Curaçao Civil Code. (de Vries


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Decl. ¶ 7.) In particular, under paragraph 1(c) of Article 1:88, a spouse needs the approval of the

other spouse to provide security for a debt of a third person. Under Article 1:89, in the absence of

the required spousal consent, the issuance of such a guarantee may be unilaterally annulled by the

other spouse whose consent was not sought. (Id.) Mrs. Bellosta is therefore seeking a declaratory

judgment from the Court of First Instance of Curaçao establishing that she has successfully

annulled the Personal Guarantees. (Bellosta Compl. at 4.)

       Two of Caterpillar Crédito’s main defenses in the Curaçao Proceeding are relevant to this

Application. First, Caterpillar Crédito asserts that the Court of First Instance of Curaçao does not

have jurisdiction over the defendants because neither is a resident of Curaçao. The only possible

basis for jurisdiction is if the Curaçao court has personal jurisdiction over at least one “anchor”

defendant. Because there is no dispute Caterpillar Crédito is not a resident of Curaçao, the only

possible anchor defendant is Mr. Bellosta. But Caterpillar Crédito believes that Mr. Bellosta also

was not a habitual resident of Curaçao at the time Mrs. Bellosta filed her action (i.e., on April 6,

2022), so the Curaçao court lacks jurisdiction over Mrs. Bellosta’s claim. (de Vries Decl. ¶¶ 10-

11.) Second, Caterpillar Crédito asserts the provisions of the Curaçao Civil Code do not apply

because Mrs. Bellosta was not a resident of Curaçao when the Personal Guarantees were given

(i.e., October 16, 2015 and October 11, 2016). (de Vries Decl. ¶ 8.) Caterpillar Crédito has reason

to believe that the Bellostas’ sporadic presence in Curaçao around the relevant times did not

establish their residence in Curaçao within the meaning of the applicable Curaçao laws. (Id.)

III.   SCOPE OF DISCOVERY REQUESTED

       In furtherance of its defenses in the Curaçao Proceeding, Caterpillar Crédito seeks

discovery from Respondents under Section 1782 to uncover that Mr. and Mrs. Bellosta did not

have habitual residency in Curaçao during the relevant time periods.




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       Mastercard is a US Fortune 200 multinational financial services corporation, incorporated

under the laws of Delaware, and having its principal place of business in Purchase, New York.

Mastercard’s primary business is to process payments between the banks of merchants and the

card-issuing banks or credit unions of the purchasers who use the “Mastercard” brand debit, credit,

and prepaid cards to make purchases. It is believed that Mr. and Mrs. Bellosta and companies in

the Venequip Group, including VMSC and Venequip SA, have banking relationships with BSJI,

which provides Mastercard’s credit cards. (Rego Decl. ¶ 5.) Furthermore, Mr. Bellosta has a

banking relationship with Bank of America/Merrill Lynch, which offers Mastercard debit and

credit cards. (Id. ¶ 6.) Similarly, Visa is a US Fortune 200 multinational financial services

corporation, incorporated under the laws of Delaware, and having its principal place of business

in Foster City, California. Visa’s primary business is to facilitate electronic funds transfers

throughout the world, most commonly through Visa-branded credit cards, debit cards, and prepaid

cards. Mr. Bellosta has a banking relationship with Bank of America/Merrill Lynch, which offers

Visa debit and credit cards. (Id.)

       The discovery sought from Respondents consists of Mr. and Mrs. Bellosta’s monthly

account statements and other debit or credit card records kept by Mastercard and Visa throughout

the relevant time periods, which are likely to show the location of Mr. and Mrs. Bellosta. For

example, these records are likely to indicate (1) the shops, restaurants, dry cleaners, etc., which

they frequented individually or together and, therefore, the extent to which they were physically

located in Curaçao, and (2) the billing address for the credit or debit card statements which will

also be indicative of Mr. and Mrs. Bellosta’s residence.

       In particular, Caterpillar Crédito seeks the following: (i) monthly account statements and

financial records for Mrs. Bellosta from October 16, 2014 to October 11, 2017, and (ii) monthly




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account statements and financial records for Mr. Bellosta from October 16, 2014 to October 11,

2017 and April 6, 2021 to present.

       This discovery of U.S. material bears directly on Caterpillar Crédito’s defenses in the

Curaçao Proceeding of showing the lack of the Curaçao court’s jurisdiction and the inapplicability

of the Curaçao Civil Code to the validity of the Personal Guarantees. Caterpillar Crédito will

prevail in the Curaçao Proceeding if it shows either that (i) Mr. Bellosta was not a habitual resident

of Curaçao when Mrs. Bellosta filed her complaint, or (ii) Mrs. Bellosta was not a habitual resident

of Curaçao when Mr. Bellosta gave the Personal Guarantees. (de Vries Decl. ¶ 11.) Caterpillar

Crédito’s request is limited to this narrow subpoena duces tecum. Caterpillar Crédito does not

seek to depose anyone at this time.

                                           ARGUMENT

I.     THE APPLICATION SATISFIES SECTION 1782’S THREE STATUTORY
       REQUIREMENTS AND THIS COURT HAS THE AUTHORITY TO GRANT THE
       REQUESTED DISCOVERY

       Section 1782 authorizes district courts to order documentary and testimonial discovery for

use in foreign proceedings. See 28 U.S.C. § 1782(a) (“The district court of the district in which a

person resides or is found may order him to give his testimony or statement or to produce a

document or other thing for use in a proceeding in a foreign or international tribunal. . . . The order

may be made . . . upon the application of any interested person.”).

       Before a court can order Section 1782 discovery, a party must meet “three statutory

requirements: (1) the person or entity from whom discovery is sought must ‘reside[ ]’ or be ‘found’

within the district in which the application is filed; (2) the discovery sought must be for ‘use in a

proceeding in a foreign or international tribunal’; and (3) the application must be made by a

‘foreign or international tribunal or ... any interested person.’” In re Mota, 2020 WL 95493, at *1.

Caterpillar Crédito easily meets all three requirements.


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       First, Respondents Mastercard and Visa are incorporated under the laws of Delaware, and

thus reside in the District of Delaware. See e.g., In re Liverpool Ltd. P'ship, No. 21-MC-86-CFC,

2021 WL 3793901, at *1 (D. Del. Aug. 26, 2021).

       Second, Caterpillar Crédito seeks discovery for “use in a proceeding in a foreign or

international tribunal” in Curaçao, i.e., in the Curaçao Proceeding. (de Vries Decl. ¶¶ 2, 12.)

       Third, as a defendant in the Curaçao Proceeding, Caterpillar Crédito is an “interested

party.” In re Application of Gilead Pharmasset LLC, No. CV 14-MC-243 (GMS), 2015 WL

1903957, at *2 (D. Del. Apr. 14, 2015) (citing Intel, 542 U.S. at 256) (“No doubt litigants are

included among . . . the interested persons who may invoke § 1782”) (internal quotation marks

omitted). (de Vries Decl. ¶ 2.)

II.    THE COURT SHOULD EXERCISE ITS STATUTORY AUTHORITY TO
       COMPEL DISCOVERY BECAUSE EVERY INTEL FACTOR SUPPORTS
       GRANTING THE SECTION 1782 APPLICATION

       Because all three mandatory statutory requirements are met, the Court has the authority to

compel the production of evidence under § 1782(a). Whether to do so then becomes a matter of

the Court’s discretion. In re Liverpool, 2021 WL 3793901, at *1 (citing Intel, 542 U.S. at 241,

264). Considerations that inform the Court’s discretion—often referred to as the Intel factors—

include:

       (1) whether the discovery sought is within the foreign tribunal’s jurisdictional reach
       and therefore accessible without aid under § 1782; (2) the nature of the foreign
       litigation and the foreign jurisdiction's receptivity to court assistance from the
       United States; (3) whether the § 1782 request conceals an attempt to circumvent
       foreign proof-gathering limits or other policies of the foreign country; and (4)
       whether the subpoena includes unduly intrusive or overly burdensome requests.

In re Mota, 2020 WL 95493, at *1-2. “A court should apply these factors in support of § 1782’s

twin aims of providing efficient assistance to participants in international litigation and

encouraging foreign countries by example to provide similar assistance to [U.S.] courts.” In re



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Liverpool, 2021 WL 3793901, at *1 (internal citation and quotation marks omitted). Here, the

Court should exercise its discretion and grant Caterpillar Crédito’s Application because each of

the four Intel factors supports its request.3

        A.       Respondents Are Not Parties to the Curaçao Proceeding and the Discovery
                 Sought Is Outside the Jurisdictional Reach of Curaçao Courts

        The first Intel factor, “whether the person from whom discovery is sought is a participant

in the foreign proceeding,” supports Caterpillar Crédito’s Application. The Supreme Court has

recognized that the need for U.S. court assistance is most apparent where the Section 1782

respondent is not a party to the foreign action and not otherwise within the jurisdiction of the

foreign court. See Intel, 542 U.S. at 264 (“[N]onparticipants in the foreign proceeding may be

outside the foreign tribunal’s jurisdictional reach; hence, their evidence, available in the United

States, may be unobtainable absent § 1782(a) aid.”). See also In re Liverpool, 2021 WL 3793901,

at *2. Here, Respondents will not be parties to the Curaçao Proceeding. (de Vries Decl. ¶ 12.)

Nor will Curaçao courts otherwise have the power to compel discovery by them.                                  (Id.)

Accordingly, this factor supports granting Caterpillar Crédito’s Application.

        B.       The Curaçao Court Will Be Receptive to Section 1782 Assistance

        The second Intel factor, “the nature of the foreign tribunal, the character of the foreign

proceedings, and the receptivity of the foreign government to federal judicial assistance,” also

supports Caterpillar Crédito. See e.g., In re Liverpool, 2021 WL 3793901, at *2. The relevant

inquiry is whether the foreign tribunal would consider the evidence produced pursuant to a

Section 1782 order. In re Chevron Corp., 633 F.3d 153, 162–63 (3d Cir. 2011). The party



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    Furthermore, the possibility that certain relevant, non-privileged documents might be located abroad is no bar to
    granting this Application as Section 1782 allows extraterritorial discovery “so long as the documents to be
    produced are within the subpoenaed party’s possession, custody, or control.” In re del Valle Ruiz, 939 F.3d 520,
    533 (2d Cir. 2019).



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opposing discovery bears the burden of persuading the court that the foreign tribunal would not

consider the discovery sought by the Section 1782 order. Id.

       Here, there is no indication that the Curaçao court would not consider the discovery

Caterpillar Crédito seeks. (de Vries Decl. ¶ 13 (stating that the Curaçao court will consider all

documentary evidence submitted)); In re Sociedad Militar Seguro de Vida, 985 F. Supp. 2d 1375,

1380 (N.D. Ga. 2013) (finding no evidence that a Curaçao court would not be receptive to judicial

assistance from the U.S. court). Quite the opposite. The Curaçao court likely would be extremely

interested in evidence bearing on its own jurisdiction and concerning the applicability of the

Curaçao Civil Code to the Personal Guarantees, which is the very foundation of

Mrs. Bellosta’s claim. (de Vries Decl. ¶¶ 11, 13.) The Curaçao court would thus be willing to

consider any evidence Caterpillar Crédito obtains from this Application. (Id.) The burden to show

otherwise rests with Respondents. In re Chevron Corp., 633 F.3d, at 162–63. Therefore, this

second factor also supports Caterpillar Crédito’s Application.

       C.      Caterpillar Crédito Brings Its Application in Good Faith

       The third Intel factor, whether the “proposed subpoena conceals an attempt . . . to

circumvent [foreign] proof-gathering restrictions or other policies,” likewise supports Caterpillar

Crédito. In re Liverpool, 2021 WL 3793901, at *2. The inquiry focuses on bad faith. It requires

courts to “consider whether the litigant’s motives are tainted by a surreptitious effort to bypass

foreign discovery rules.” Kulzer v. Esschem, 390 F. App’x 88, 92 (3d Cir. 2010); Intel, 542 U.S.

at 264–65. Here, Caterpillar Crédito brings its request in good faith and does not seek to evade

Curaçao fact-gathering rules. (de Vries Decl. ¶ 12.)

       Because Respondents—Delaware entities with their principal places of business in New

York and California, respectively—are not Curaçao entities, and will not be parties to the Curaçao

Proceeding, the only way that Caterpillar Crédito may obtain the requested discovery from them


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is through Section 1782. (Id.) Since the Curaçao courts do not have jurisdiction over Respondents,

they “would be unable to compel [Respondents] to produce the … documents requested.” In re

Sociedad Militar Seguro de Vida, 985 F. Supp. 2d at 1379-80 (granting 1782 application for use

in Curaçao). Caterpillar Crédito thus seeks U.S. assistance in good faith to obtain documents from

entities that are outside the jurisdictional reach of Curaçao courts. Thus, this third Intel factor also

weighs in favor of granting Caterpillar Crédito’s Application. See, e.g., In re Mesa Power Grp.,

LLC, No. 2:11-MC-270-ES, 2013 WL 1890222, at *7 (D.N.J. Apr. 19, 2013) (finding no

circumvention because there was no evidence that the application was “an attempt to side-step

proof-gathering or other restrictions” and the respondent “may be outside the jurisdictional reach

of the tribunal”).

        D.      The Requested Discovery Is Not Unduly Intrusive or Burdensome

        Finally, Caterpillar Crédito is not seeking unduly intrusive or burdensome discovery. “As

to the fourth and final Intel factor, the court has discretion to consider whether the information

sought in the subpoena is overbroad, disproportionate, or unduly burdensome. This analysis

requires application of the Rule 26 standard to determine whether the requested discovery ‘is

relevant to any party's claim or defense and proportional to the needs of the case[.]’” In re Sevier,

No. CV 22-MC-80-RGA-SRF, 2022 WL 3923679 at * 3 (D. Del. Aug. 31, 2022) (internal citations

omitted). Requests made under Section 1782 run afoul of this factor where they are “not narrowly

tailored, request confidential information and appear to be a broad ‘fishing expedition’ for

irrelevant information.” In re Ex Parte Application of Qualcomm Inc., 162 F. Supp. 3d 1029, 1043

(N.D. Cal. 2016) (citation omitted). That is not the case here.

        The discovery sought by Caterpillar Crédito is neither unduly intrusive nor burdensome.

First, the Proposed Subpoenas are sufficiently narrowly tailored, especially “given the scope of

the [Curaçao Proceedings] and Respondent[s’] eventual opportunity to object and/or submit a


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motion to quash or modify the subpoena.” In re Mota, 2020 WL 95493, at *2. The Proposed

Subpoenas ask only for specific records and documents pertaining to two individuals and cover

two limited time periods relevant to the Personal Guarantees. Thus, far from burdensome,

Caterpillar Crédito’s Application will require little effort for Respondents to comply. In fact, it is

likely that Respondents keep these records in an electronic format easily searchable using

Mr. Bellosta and Mrs. Bellosta’s names.

       Second, even if Mr. or Mrs. Bellosta had confidentiality concerns with the limited

information sought by this Application, confidentiality concerns “do not pertain to the

intrusiveness or burdensomeness” if the discovery is relevant to the foreign litigation. See In re

Gilead, 2015 WL 1903957, at *5 (citing In re Ex Parte Apple Inc., No. MISC 12-80013 JW, 2012

WL 1570043, at *3 (N.D. Cal. May 2, 2012)). The documents sought are unquestionably relevant

to the Curaçao Proceeding as they are integral to Caterpillar Crédito’s defense. First, Caterpillar

Crédito believes that the evidence sought will establish that the Curaçao court does not have

jurisdiction over the defendants because Mr. Bellosta was not a habitual resident of Curaçao at the

time Mrs. Bellosta brought her complaint. Second, Mrs. Bellosta cannot prevail in the Curaçao

Proceeding if Caterpillar Crédito manages to show that she was not a habitual resident of Curaçao

when Mr. Bellosta gave the Personal Guarantees. (de Vries Decl. ¶ 11.) Thus, because the

documents sought are relevant, confidentiality concerns are irrelevant to the Court’s analysis here.4

       Finally, the discovery sought by Caterpillar Crédito is clearly not a fishing expedition.

Caterpillar Crédito’s narrow discovery request is limited to seeking documents and records from

only two entities regarding two specific individuals during two limited time periods. Furthermore,


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    Further, to the extent that Respondents have any confidentiality concerns, Caterpillar Crédito
    is willing to enter into a stipulated protective order governing the disclosure of Respondents’
    produced documents.



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as set forth above, the discovery sought is highly relevant as the information to be obtained through

the Proposed Subpoenas is crucial in the determination of the Curaçao court’s jurisdiction, i.e.,

whether Mr. Bellosta had habitual residency in Curaçao when Mrs. Bellosta filed her complaint,

and is also potentially dispositive of Mrs. Bellosta’s complaint, i.e., that she was a habitual resident

of Curaçao when Mr. Bellosta gave the Personal Guarantees.

       Thus, this fourth and final factor equally supports the Application.

                                          CONCLUSION

       Because the three Section 1782 statutory requirements are met, and because all four

discretionary Intel factors are met, Caterpillar Crédito respectfully moves the Court to issue an

order pursuant to 28 U.S.C. 1782(a) approving this Application to compel discovery in accordance

with the Federal Rules of Civil Procedure for the purpose of obtaining monthly bank account

statements and other bank records kept by Mastercard and Visa throughout the relevant time

periods of all accounts held individually or jointly by Mr. and Mrs. Bellosta.

       Caterpillar Crédito also respectfully requests that the Court approve Caterpillar Crédito’s

ex parte Application for discovery, grant issuance of the subpoenas substantially in the form in

which they appear in the Proposed Subpoenas, direct Mastercard and Visa to produce the

documents in their possession, custody, or control, as requested in the Proposed Subpoenas, and

grant such other and further relief as the Court may deem just and proper.



Dated: September 23, 2022

                                               Respectfully submitted,

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